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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

VITO CITO,

   Plaintiff,                                      CASE NO.: 8:18-CV-01105-VMC-AAS

-vs-

KOHL'S DEPARTMENT STORES, INC.,

   Defendant.
                                       /


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       COME NOW the Plaintiff, Vito Cito, and the Defendant, Kohl's Department Store, and

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, with prejudice, each claim

and count therein asserted by Plaintiff against the Defendant in the above-styled action, with

Plaintiff and Defendant to bear their own attorney’s fees, costs and expenses.

       Respectfully submitted this 21st day of September, 2018.



/s/Frank H. Kerney, III, Esquire                   /s/Victoria Oguntoye, Esquire
Frank H. Kerney, III, Esquire                      Victoria Oguntoye, Esquire
Florida Bar #: 88672                               Florida Bar #: 114114
Morgan & Morgan, Tampa, P.A.                       Scott A. Underwood, Esquire
One Tampa City Center                              Florida Bar #: 0730041
201 North Franklin Street, 7th Floor               Buchanan Ingersoll & Rooney PC
Tampa, FL 33602                                    401 E. Jackson St., Suite 2400
Telephone: (813) 223-5505                          Tampa, FL 33602
Facsimile: (813) 223-5402                          Telephone: (813) 222-8180
fkerney@forthepeople.com                           Facsimile: (813) 222-8189
snazario@forthepeople.com                          victoria.oguntoye@bipc.com
lrobbins@forthepeople.com                          scott.underwood@bipc.com
Counsel for Plaintiff                              Counsel for Defendant
